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                    UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII
TRENDTEX FABRICS, LTD., a Hawaii             Case No. 1:22-cv-00287-MWJS-KJM
Corporation; and TRENDTEX HOLDING,
LLC, a Hawaii limited liability company;     Honorable Micah W.J. Smith

              Plaintiff,                     NTKN, INC. AND HUNG KY’S
        v.                                   OPPOSITION TO PLAINTIFFS’
NTKN, INC., a Hawaii corporation; HUNG       MOTION FOR PARTIAL
KY, an individual; SHAKA TIME, INC., a       SUMMARY JUDGMENT AND
Hawaii corporation; LEILANI’ S ATTIC,        COUNTER-MOTION FOR
INC., a California corporation; and HAWAII   SUMMARY JUDGMENT;
HANGOVER, LLC, a Missouri limited            CERTIFICATE OF
liability company; MARK MADL, an             COMPLIANCE; CERTIFICATE
individual D/B/A CITIES FASHION;             OF SERVICE
              Defendants.
                                             Trial Date: July 29, 2024
NTKN, INC., a Hawaii corporation; and
HUNG KY, an individual;
             Counterclaimants,
v.
TRENDTEX FABRICS, LTD., a Hawaii
corporation,
             Counter-Defendant.
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        Defendants and Counterclaimants NTKN, Inc. (“NTKN”), and Hung Ky
(“Ky”), (collectively, “NTKN”), oppose the Motion for Partial Summary Judgment

(Dkt. 167, “Motion”) filed by Plaintiffs Trendtex Fabrics Ltd. (“Trendtex Fabrics”)
and Trendtex Holding, LLC (“Trendtex Holding”), (collectively “Plaintiffs” or
“Trendtex”), and file this Counter Motion for Summary Judgment (“Counter MSJ”)

pursuant to Local Rule 7.7 as follows:
I.      INTRODUCTION
        Plaintiffs’ Motion for partial summary judgment of infringement on twelve of

the twenty-six asserted copyrights should be denied as moot because Plaintiffs
lacked standing during this action. Plaintiffs admit that while Trendtex Fabrics was
the lone plaintiff in this case, it assigned all its rights and interest in the asserted

copyrights—including the right to sue for past, present, and future infringement—to
its shell company, Trendtex Holding. Despite losing ownership of any enforceable
right, Trendtex Fabrics continued to litigate its infringement claims against NTKN
and others for months before amending its complaint to add Trendtex Holding.
Plaintiffs’ lack of standing compromises the entire case. Trendtex’s Motion should
be denied, and this case should be dismissed.
        In addition, Plaintiffs cannot prevail on their infringement claims because
NTKN’s accused products were made from fabrics purchased from Trendtex
Fabrics, or its predecessor-in-interest, HawaiiPrint. Plaintiffs admit that it sold
fabric bearing the subject designs to NTKN but argue that NTKN sold clothes made
from fabric obtained outside of these legitimate purchases. The evidence in the case
shows that Trendtex is wrong, and that NTKN did receive the accused fabrics


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through numerous authorized purchases over a seventeen-year period that ended
more than a decade ago. At a minimum, the evidence highlights the genuine disputes

of material facts. These factual questions should be resolved by a jury, and Plaintiffs’
Motion for partial summary judgment must be denied.
II.   BACKGROUND FACTS

      Hung Ky, NTKN’s founder, began selling Hawaiian apparel from his home
in 1992. (Depo. of Howard Ky (“Ky Depo.”) at NTKN’s Concise Statement of
Disputed Facts (“CSDF”) at ¶ 40.) Mr. Ky founded Ky’s International Fashion, Inc.

(“Ky’s”) in 1997 and later dissolved Ky’s when Mr. Ky formed NTKN in 2016. (Id.
at ¶¶ 8, 41.) Ky’s fabric inventory and other assets were later transferred to NTKN.
(CSDF ¶ 8, 42.)

      From 1997 to 2014, Ky’s purchased large volumes of printed fabrics from
Trendtex Fabrics and HawaiiPrint for use by Ky’s, and later NTKN, to manufacture
clothing. (Id. at ¶43.) Over this 17-year period, Ky’s purchased hundreds of
thousands of yards of printed fabric. (Id. at ¶ 44.) NTKN used the purchased fabric
to make made-to-order or small-batch garments which it sold. (Id. at ¶ 45.) When
COVID temporarily shut down NTKN’s warehouse, NTKN began selling products
online. (Id. at ¶ 46.). NTKN has only used a portion of the original fabric that it
purchased directly from Trendtex and HawaiiPrint many years earlier. (Id.at ¶47.)
The remaining fabric is in NTKN’s warehouse, and NTKN slowly manufactures this
fabric into shirts on a made-to-order basis. (Id. at ¶ 48.)
      Trendtex acknowledges that it sold fabric to NTKN but disputes the type and
quantities of those sales. (Id. at ¶¶ 6, 49-60.) In doing so, Trendtex relies on

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incomplete records that do not provide the full series of transactions between the
parties and that completely omit reference to the numerous fabric samples provided

by Trendtex and HawaiiPrint to NTKN over their long-lasting business relationship.
(Id. at ¶¶ 6, 61, Mot. at 3-6.) Trendtex’s records also fail to account for or reconcile
the instances when Trendtex or HawaiiPrint would fulfill an order to NTKN but

would ship the fabric in a color that differed from the samples originally provided
by Plaintiffs to NTKN. (Id. at ¶62.) In those situations, NTKN would often receive
the fabric and use it to manufacture clothing, even though it differed from the

colorways originally proposed by Trendtex. (Id. at ¶ 63.) This would result in
clothing bearing a Trendtex design in a color that Trendtex may not have widely
distributed. (Id. at ¶ 64.) Sometimes, NTKN would inform Trendtex or HawaiiPrint

of this discrepancy. (Id. at ¶ 65.) Generally, however, NTKN would use the fabric
rather than send it back to the factory since reordering fabrics could cause significant
delays. (Id.)
      Fabrics filed the present lawsuit against NTKN on June 29, 2022 (Dkt. 1) and
a First Amended Complaint (“FAC”) on August 15, 2022 (Dkt. 29). Shortly after
NTKN filed its counterclaims on September 21, 2022 (Dkt. 54), Trendtex Fabrics
assigned the Asserted Copyrights to a shell company called Trendtex Holding. (Dkt.
167-1 at 2, “Beginning in the fall of 2022, Trendtex Fabrics began assigning its
copyright portfolio, including all of the copyrights at issue in this action, to a new
entity named Trendtex Holding, LLC.”).
      Trendtex admits that the assignment included all rights to the Asserted
Copyrights, including the “right to sue for past, present, and future infringements.”

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(Dkt. 167-1 at 2). Trendtex never informed NTKN of this fact. (CSDF ¶ 66.)
Although Trendtex Fabrics no longer owned the rights to sue or maintain suit for

infringement of the Asserted Copyrights, it continued to assert infringement claims
against NTKN and the other defendants, including Tropiholic, Inc., Shaka Time,
Inc., Leilani’s Attic, Inc., Hawaii Hangover, LLC and Mark Madl, d/b/a Cities

Fashion.1 (Dkt. 167-1 at 2; CSDF ¶ 67.) Plaintiffs attempted to fix this problem by
adding Trendtex Holding to Plaintiffs’ Second Amended Complaint (“SAC”) on
June 2, 2023 without informing NTKN or the Court of the issue. (Dkt. 99).

However, the SAC was not filed until many months after Trendtex Fabrics’
assignment of the rights to enforce the Asserted Copyrights to Trendtex Holding.
III.   LEGAL STANDARD

       Summary judgment is appropriate if the moving party demonstrates “that
there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477
U.S. 317, 322 (1986). Material facts are facts that, under the governing substantive
law, may affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S.




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   Trendtex asserts that Trendtex Holding exclusively licensed the copyrighted
designs back to Trendtex Fabrics so it “could continue selling fabrics to garment
makers as before.” (Dkt. 167-1 at 2.) However, Trendtex does not allege that it
licensed back the right to sue. (Id.) Moreover, Trendtex has refused to produce any
assignment or license between Trendtex Fabrics and Trendtex Holding, despite
numerous discovery requests calling for the information. (CSDF at ¶63.) Trendtex
should be precluded from relying on any newly-disclosed assignment or license in
support of its Motion. See Fed. R. Civ. P. 37(c)(1).

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242, 248 (1986). A dispute as to a material fact is genuine if there is sufficient
evidence for a reasonable jury to return a verdict for the non-moving party. Id.

      The party moving for summary judgment bears the burden of establishing the
absence of a genuine issue of material fact. See Celotex, 477 U.S. at 322-23.
IV.   ARGUMENT

      A.     The Case Should Be Dismissed as Moot Because Trendtex Admits
             It Lacked Standing to Assert its Infringement Claims

      Plaintiff “has the burden of establishing a qualifying ownership interest both
as a substantive element of the infringement claim, and as a necessary predicate for

standing to bring the claim.” DRK Photo v. McGraw-Hill Global Education
Holdings, LLC, 870 F.3d 978, 986 (9th Cir. 2017). “Since [establishing standing is]
not mere pleading requirements but rather an indispensable part of the plaintiff’s

case, each element must be supported in the same way as any other matter on which
the plaintiff bears the burden of proof . . . .” Lujan v. Defenders of Wildlife, 504 U.S.
555, 561 (1992).
      The question of whether a court loses jurisdiction over a case where a plaintiff
had standing at the outset is properly characterized as one of mootness. Pi-Net Int’l,
Inc. v. Focus Business Bank, 2015 WL 1538259, No. 5:12-cv-04958 (N.D. Cal. Apr.

6, 2015) (cleaned up). “The doctrine of mootness can be described as ‘the doctrine
of standing set in a time frame: The requisite personal interest that must exist at the
commencement of the litigation (standing) must continue throughout its existence
(mootness).’” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 520
U.S. 167, 189 (citation omitted) (emphasis added); see also ModernaTx, Inc. v.

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Arbutus Biopharma Corp., 18 F.4th 1352 (Fed. Cir. 2021) (“Moderna has failed to
demonstrate that it continuously had standing through-out the pendency of the

appeal. Under our precedent, an ‘intervening abandonment of the controversy
produces loss of jurisdiction.’”) (quoting Momenta Pharms., Inc. v. Bristol-Myers
Squibb Co., 915 F.3d 764, 770 (Fed. Cir. 2019)).

      Plaintiffs’ copyright infringement claims are barred as moot because Trendtex
Fabrics—the only Plaintiff in the case at the time—lacked standing to sue or
maintain suit for infringement for several months during a critical period in this

litigation. Plaintiffs admit that Trendtex Fabrics assigned all rights, including the
right to sue for past, present, and future infringement of the Asserted Copyrights to
Trendtex Holding in the fall of 2022. (Dkt. 167-1 at 2; Dkt. 168-2 at ¶ 14). Yet,

Plaintiffs did not amend their complaint to add Trendtex Holding until months later,
on June 2, 2023. (Dkt. 99).
      Plaintiffs claim that once Trendtex Holding received assignment of the
Asserted Copyrights (including the right to sue and maintain suit), Trendtex Holding
only licensed one right back to Trendtex Fabrics: the right to “continue selling
fabrics to garment makers as before.” (Dkt. 167-1 at 2). Trendtex does not identify
any other right conveyed back from Trendtex Holding to Trendtex Fabric. In other
words, Plaintiffs expressly admit that Trendtex Fabrics assigned away the right to
sue for past infringement and make no attempt to claim that Trendtex Fabrics ever
received this right back via license, despite identifying another right that was
allegedly transferred back. “While parties are free to assign some or all patent rights
as they see fit based on their interests and objectives, this does not mean that the

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chosen method of division will satisfy standing requirements.” Morrow v. Microsoft
Corp., 499 F.3d 1332, 1341 n.8 (Fed. Cir. 2007).

      Further, there is no evidence of any license back from Trendtex Holding to
Trendtex Fabrics. Plaintiffs have refused to produce a copy of the assignment or
license to NTKN, despite NTKN’s numerous discovery requests for these

documents, including document requests for “[a]ll licenses, contracts, or other
agreements granting rights” in each of the Asserted Copyrights “to any person or
entity.” (CSDF ¶ 68.) Plaintiffs cannot now retroactively establish their right to

maintain suit on a license they refused to produce.
      Also, the law is clear that whether a plaintiff has standing to sue is evaluated
by looking to “the facts as they exist when the complaint is filed.” Lujan, 504 U.S.

at 571, n.4. It is undisputed that Trendtex Holding did not have standing to sue at
the beginning of this lawsuit, since it was not assigned the copyrights until the fall
of 2022, well after the case was filed. (Dkt. 167-1 at 2). Such lack of standing cannot
be acquired by assignment later. See Righthaven LLC v. Hoehn, 716 F.3d 1166,
1171 (9th Cir. 2013) (noting that while there are limited exceptions to the rule
that standing is   determined    as    of   the   time     the   complaint    is   filed,
“permitting standing based on a property interest acquired after filing is not one of
them”).
      Plaintiffs were aware of their loss of standing and continued to litigate
anyway. In another case brought by Plaintiffs in the Southern District of Florida,
the district court found Trendtex Fabrics lacked standing to bring the copyright
claims because it had assigned Holding with the right to sue for past, present, and

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future infringement. TrendTex Fabrics, Ltd. v. Bonnie Brown Designs, Inc., No. 23-
20291-CIV, 2023 WL 4704008, at *5 (S.D. Fla. July 24, 2023). “[O]nce an owner

or exclusive licensee exclusively licenses away those rights to another, the licensor
loses standing to sue for infringement of those rights, and only the licensee has
standing to sue.” Id. (quoting World Thrust Films, Inc. v. Int’l Family Entm’t, Inc.,

No. 93-08681, 1996 WL 605957 at *4 (S.D. Fla. Aug 1, 1996)). The S.D. Fla.
District court clarified that because Trendtex Fabrics assigned away “in no uncertain
terms” the right to recover for past infringement, it lacked the right to bring or

maintain suit for infringement. Id. Indeed, in that case, Plaintiffs expressly concede
that Trendtex Fabrics did not have the rights to bring or maintain suit: “[T]he
assignments and general contract principles suggest that Trendtex Holding has the

exclusive right to prosecute this action.” Id.
      B.     Plaintiffs’ Motion Must Be Denied Because Plaintiff Has Not
             Proven That The Accused Products Are Not Made From Fabrics
             Purchased from Trendtex or HawaiiPrint

      Across the twelve identified designs in the Motion, there is one recurring
factual dispute: whether Defendants sold products in colors not supplied by Trendtex
or HawaiiPrint. Plaintiffs cannot escape the irregularities of their recordkeeping and
the many questions regarding how their fabric colors were decided, distributed,

documented, described, or depicted. As such, Plaintiffs have not met their burden
for summary judgment and their Motion should be denied.




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             1.    Trendtex relies on incomplete records to establish the colors
                   available to NTKN at the relevant time.

      Trendtex relies on incomplete records that do not provide the full series of

transactions between the parties. Even the transactions on which the parties agree
took place are not fully documented. (CSDF at ¶¶ 61, 62.) This lack of complete
records is understandable considering the parties’ lax record keeping practices at the

time and the many years that have passed since the transactions occurred. Some of
the invoices and purchase orders are over 25 years old and were kept only as a hard
copy over the years. (CSDF at ¶ 6; 61-62, 69.)

      Further, Trendtex’s records omit reference to the numerous fabric samples
provided by Trendtex and HawaiiPrint to NTKN over their seventeen-year history.
For example, Trendtex’s records do not include the samples provided from Trendtex

or HawaiiPrint to NTKN, which samples often included colors and fabrics that were
not eventually mass produced. (CSDF at ¶ 70.) As a result, Trendtex’s dependence
on those records to assert that it never created the designs in certain colorways is
suspect, because these are precisely the category of products that have been omitted
from their documentation.
      Trendtex’s records (and resulting arguments) likewise do not account for or

reconcile the instances when Trendtex or HawaiiPrint would fulfill an order to
NTKN but would ship the fabric in a color that differed from the samples originally
provided by Plaintiffs to NTKN. (CSDF at ¶¶ 62-63.) In those situations, NTKN
would often receive the fabric and use it to manufacture clothing, even though it
differed from the colorways originally ordered from Trendtex or HawaiiPrint, or

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from the color shown in the purchase order or label. (Id. at ¶ 63.) Such fabric likely
would not be documented in Trendtex’s records. These issues with the underlying

records, and Trendtex’s attempts to salvage them, pervade its summary judgment
arguments for every identified design.

              2.    Trendtex relies on nonrepresentative photos of the products
                    offered at the time that NTKN acquired the fabric from Trendtex
                    or HawaiiPrints.

      Trendtex relies on photos that are not representative of the selection of
colorways offered by Plaintiffs or HawaiiPrint at the relevant time. In the Motion,
Trendtex points to hanger samples as proof that the colors in NTKN’s offerings
differ from those in Trendtex’s samples. (See, e.g., Motion at 16.) But even a cursory
glance at the hanger sample photographs shows that Plaintiffs are comparing
NTKN’s shirts to Plaintiffs’ current offerings, and not from when NTKN acquired

the fabric.
      For example, it is undisputed that Defendants purchased fabric with the 73142
design directly from HawaiiPrint. Trendtex, however, offers hanger samples
showing colors of the 73142 design labeled “Trendtex.” (Dkt. 167-1 at 16.)
Plaintiffs have not established that the range of “Trendtex” colorways from 2024 are
representative of or consistent with the HawaiiPrint colorways from which

Defendants acquired the fabric at issue many years ago. Plaintiffs present this same
logic for every asserted design. (Id. at 16, 20, 24, 28, 31, 35, 39, 43, 47, 51, 55, 58;
CSDF ¶ 71.) Dwight Hamai testified during his deposition that Trendtex constantly
refreshed the fabric samples in its archive. (Id. at ¶ 72.) Photos of current hanger

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samples have little relevance to the selections available when NTKN acquired the
product.

             3.    Trendtex relies on nonrepresentative photos of the products
                   offered at the time that NTKN acquired the fabric from Trendtex
                   or HawaiiPrints.

      Finally, Trendtex fails to account for the significant variations in how the
various colors were identified and documented. As such, Trendtex’s broad

conclusions that certain colorways are (or are not included) in various records, is in
dispute and could be fairly rejected by a reasonable jury.
      For example, NTKN often labelled its colors differently from how Trendtex
or HawaiiPrint labelled the same colors. (CSDF ¶ 73.) For the KS-6919 Design,
Trendtex designated its colorways as sage, blue, and natural. (Id. at ¶ 74.) NTKN
manufactured that fabric into its AL-805 design, but referred to the same, blue, and

natural colorways as green, navy blue, and cream. (Id. at ¶ 75.)
      Additionally, HawaiiPrint included colorway identifications such as slate,
sage, royal, wine, aqua, and periwinkle in its invoices. (Id. at ¶ 76.) NTKN did not
use these names to describe the colors of the garments it produced from these fabrics.
(Id.) As a result, it is misleading and disputable to assert that because a color name
is not included in certain invoices that it was not offered or sold. The significant

questions and doubt over the colors offered to NTKN should preclude summary
judgment at this stage.




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V.    CONCLUSION
      There are many lingering factual disputes on key issues. A reasonable jury

could assess the evidence and determine that Plaintiffs have not met their burden on
their claims. Consequently, summary judgment is inappropriate, and Plaintiffs’
Motion should be denied. A selection of these factual questions is summarized

below:

      •     Were the accused products sold by NTKN’s customers originally
            acquired by NTKN’s customers from NTKN?
      •     Did Trendtex, HawaiiPrint, or their authorized factories, produce fabric
            (via mass distribution, samples, or otherwise) with the designs in the
            colors that NTKN offered? Or in the type of fabric that NTKN offered?
      •     Did Trendtex, HawaiiPrint or their factories provide samples or fabric
            to NTKN that was not part of its broader distribution and that was not
            recorded in Trendtex’s records?
      •     Do the images and descriptions in NTKN’s promotional material match
            the information in their invoices and records?
      •     Are Trendtex records complete and reliable? Can Trendtex account for
            all the sales it made to NTKN?
      •     Does NTKN still own fabric bearing stamping from Trendtex or
            HawaiiPrint? Did that fabric originate from Trendtex?
      •     Are there variations between the designs in the Asserted Copyrights and
            the designs appearing in the clothing offered by NTKN? If so, are those
            variations reasonable considering the printing techniques, long-term
            storage, or changes in printing methods and screens over time?
      •     Are there variations between the type of fabric in the shirts offered by
            NTKN and the fabric bearing the designs sold by Trendtex? If so, are
            those variations reasonable considering the course of conduct between
            the parties and the undocumented samples?
      •     When did Trendtex Fabrics assign its rights in the copyrights to
            Trendtex Holdings? What rights were assigned away? Were any rights


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           assigned back from Trendtex Holdings to Trendtex Fabrics? If so, what
           rights were assigned back? And when did that occur?

     In light of these many factual questions, Plaintiffs have not their burden for

summary judgment and NTKN respectfully requests that Plaintiffs’ Motion be
denied.
      DATED: Honolulu, Hawai‘i, March 22, 2024.

                                     Respectfully submitted,

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